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AO 246 (Rev. 09/11) Probation Order Under IS U.S.C. § 3607


                                       UNITED STATES DISTRICT COURT
                                                                       for the                                    2Ui5jpR -8 PH !: I7
                                                             Southern District of Georgia
                                                                 Savannah Division                            •   --,   .



                                                                                                                        SO. fJIS   F GA.
                    United States of America
                                  V.
                                                                                Case No. 4:14CR00429-3

                       Nicole D. Wagner

                                           PROBATION ORDER UNDER 18 U.S.C. § 3607
        The defendant having been found guilty of an offense described under 21 U.S.C. § 844, and it appearing that the
defendant (1) has not, prior to the commission of such offense, been convicted of violating a federal or state law relating
to controlled substances, and (2) has not previously been the subject of a disposition under this subsection,
        IT IS ORDERED: The defendant is placed on probation as provided in 18 U.S.C. § 3607 for a period of .i
months without ajudgnient of conviction first being entered. The defendant must comply with the standard conditions of
probation set forth on the next page of this order, and the following special conditions:

   The defendant shall participate in a program of testing for drug and alcohol abuse;
   The defendant shall pay a fine in the amount of $200 the rate of $50 per month;
   The defendant's fine may be converted to community service at $5 per hour.
EZI After the fine is paid in full, the probation may be early terminated as recommended by the probation officer.




                                                                       UNITED S ATES MAGISTRATE JUDGE
                                                                       SOUTHERN DISTRICT OF GEORGIA


                                                                Defendant's Consent
        I have read the proposed probation order under 18 U.S.C. § 3607 and the conditions of probation, including the special
conditions above. I understand that if I violate any conditions of probation, the court may enter a judgment of conviction and
proceed as provided by law. I consent to the entry of the order.
         I also understand that, if I have not violated any condition of my probation, the court, without entering a judgment of
conviction, (1) may dismiss the proceedings and discharge me from probation before the expiration of the term of probation, or (2)
must dismiss the proceedings and discharge me from probation at the expiration of the term of probation.
         I also understand that, if I was under age 21 at the time of the offense, I am entitled to have the record of my arrest and
conviction expunged upon application.                                            II)

Date:
                •                                                      Signature of Defendant            V

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                                                                       Printed Name of Defense Counsel
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                                                             Conditions of Probation

While on probation, you must:

          1)        not leave the judicial district without the permission of the court or probation officer;

         2)         report to the probation officer in a manner and frequency directed by the court or probation officer;

         3)         answer truthfully all inquiries by the probation officer and follow the instructions of the probation
                    officer;

         4)         support any dependents and meet other family responsibilities;

         5)         work regularly at a lawful occupation, unless excused by the probation officer for schooling, training,
                    or other acceptable reasons;

         6)         notify the probation officer at least ten days prior to any change in residence or employment;

         7)         refrain from excessive use of alcohol and not purchase, possess, use, distribute, or administer any
                    controlled substance or any paraphernalia related to any controlled substances, except as prescribed by
                    a physician;

         8)         not frequent places where controlled substances are illegally sold, used, distributed, or administered;

         9)         not associate with any person engaged in criminal activity, or convicted of a felony, unless granted
                    permission to do so by the probation officer;

          10)       permit a probation officer to visit you at any time at home or elsewhere and permit the confiscation of
                    any contraband observed in plain view of the probation officer;

          11)       notify the probation officer within seventy-two hours of being arrested or questioned by a law
                    enforcement officer;

          12)       not enter into any agreement to act as an informer or a special agent of a law enforcement agency
                    without the permission of the court; and

          13)       notify third parties as directed by the probation officer of risks that may be occasioned by the defendant's
                    criminal record or personal history or characteristics and permit the probation officer to make such
                    notifications and to confirm the defendant's compliance with the notification requirement.
